Case: 1:17-md-02804-DAP Doc #: 1964-99 Filed: 07/23/19 1 of 5. PageID #: 166814




                              EXHIBIT 311
Case: 1:17-md-02804-DAP Doc #: 1964-99 Filed: 07/23/19 2 of 5. PageID #: 166815
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    1             UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION,                 )    Case No.
                                     )    l:17-MD-2804
    5                                           )
         THIS DOCUMENT RELATES TO               )    Hon. Dan A.
    6    ALL CASES                              )    Polster
                                                )
    7
    8
    9                  Wednesday, January 23, 2019

   10
              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   11                  CONFIDENTIALITY REVIEW

   12
   13
   14
   15            Videotaped Deposition of SUSANNE
           HILAND, held at 4206 South J.B. Hunt Drive,
   16      Rogers, Arkansas, commencing at 8:25 a.m., on
           the above date, before Debra A. Dibble,
   17      Certified Court Reporter, Registered
           Diplomate Reporter, Certified Realtime
   1s      Captioner, Certified Realtime Reporter and
           Notary Public.
   19
   20
   21
   22
                        GOLKOW LITIGATION SERVICES
   23                877.370.3377 ph I fax 917.591.5672
                             deps@golkow.com
   24
   25

  Golkow Litigation Services                                              Page 1
Case: 1:17-md-02804-DAP Doc #: 1964-99 Filed: 07/23/19 3 of 5. PageID #: 166816
  Highly Confidential - Subject to Further Confidentiality Review

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  Golkow Litigation Services                                              Page 2
    Case: 1:17-md-02804-DAP Doc #: 1964-99 Filed: 07/23/19 4 of 5. PageID #: 166817
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        6           Pharmaceuticals, Inc.; Par
                    Pharmaceutical Companies, Inc.
        7           formerly known as Par Pharmaceutical
                    Holdings, Inc.
        8
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                     Counsel for Cardinal Health, Inc.
       13
       14
                     ALSO PRESENT:
       15
                     Jennifer B. Bechet
       16            Senior Associate Counsel
                     Wal mart, Inc.
       17
       18            THE VIDEOGRAPHER:
       19            Chris Ritona
                     Golkow Litigation Services
       20
       21
       22
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       24
        25

      Golkow Litigation Services                                              Page 3
Case: 1:17-md-02804-DAP Doc #: 1964-99 Filed: 07/23/19 5 of 5. PageID #: 166818
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    4      October 24th, 2017.           Remind me when Walmart
    5      decided to exit the distribution
    6      self-distribution of Schedule II narcotics.
    7                        MS. TABACCHI:         Object to the
    8              form.     Lack of foundation.
    9                        THE WITNESS:        I don't know when
   10               the decision was made.            We exited in
   11              April 2018 for C-IIs.
   12               Q.        (BY MR. INNES)        Okay.     Was that
   13      all C-IIs?
   14              A.        Yes.




  Golkow Litigation Services                                            Page 276
